              Case 2:17-cv-04657-BMS Document 1 Filed 10/18/17 Page 1 of 5



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DAVID J. SCOTT and PAMELA SCOTT,                      :
                                                      :       CIVIL ACTION NO.:
                        Plaintiffs,                   :
                 v.                                   :
                                                      :
ANDREW P. PETERSON and SYSCO                          :
LEASING LLC,                                          :
                                                      :
                        Defendants.                   :


                             NOTICE OF REMOVAL OF ACTION

         Defendant, Sysco Leasing, LLC, by and through its attorneys, Rawle & Henderson         LLP,


respectfully aver as follows:

         1.      Plaintiffs initiated this action by filing a Complaint on or about August 23, 2017,

in the Philadelphia County, Court of Common Pleas. See, a true and correct copy of the

Complaint attached hereto as Exhibit “A”.

         2.      According to the Complaint, plaintiffs are residents and citizens of Pennsylvania.

See Ex. A at ¶¶1-2.

         3.      Defendant, Sysco Leasing, LLC is a Delaware Limited Liability Company

organized and existing under the laws of the State of Delaware with its principal place of

business in Houston, Texas.

         4.      Sysco Leasing, LLC has two members, Russell T. Libby and Carmen Ng, who are

residents and citizens of the State of Texas.

         5.      Defendant, Sysco Leasing, LLC, was served with the Complaint no earlier than

September 20, 2017.




                                                  1
10960448-1
              Case 2:17-cv-04657-BMS Document 1 Filed 10/18/17 Page 2 of 5



         6.      Plaintiff has not yet filed an Affidavit of Service as to Defendant, Sysco Leasing,

LLC.

         7.      Defendant, Andrew P. Peterson (hereinafter referred to as “Andrew Peterson”) is

alleged in the Complaint to be a resident and citizen of Delaware. See Ex. A at ¶¶3.

         8.      Plaintiff has not yet filed an Affidavit of Service as to Defendant, Andrew

Peterson.

         9.      According to the allegations of the Complaint, this action arises out of a January

28, 2016 motor vehicle accident wherein the Plaintiff allegedly sustained injuries. See, Ex. A at

¶8.

         10.     The Complaint was the first pleading, motion, order or other paper from which it

was ascertainable that the case was one which was removable.

         11.     Thus, this Notice of Removal is filed within the time provided by 28 U.S.C.

§1446(b).

         12.     The citizenship of Plaintiffs and Defendants are diverse within the meaning of 28

U.S.C. §1332 in that:

                        a)      Plaintiffs are residents and citizens of the Commonwealth of

                 Pennsylvania. According to the Complaint, Plaintiffs reside at 519 Willing Street,

                 Tamaqua, Pennsylvania 18252.

                        b)      At all times material hereto, Sysco Leasing, LLC, is and was a

                 business entity and citizen of the state of Delaware having its principal place of

                 business at 1390 Enclave Parkway, Houston, Texas 77077. Thus, Sysco Leasing,

                 LLC is deemed to be a citizen of Delaware and Texas.




                                                  2
10960448-1
             Case 2:17-cv-04657-BMS Document 1 Filed 10/18/17 Page 3 of 5



                        c)     At all times material hereto, the members of Sysco Leasing, LLC,

                Russell T. Libby and Carmen Ng, are and were residents and citizens of Texas.

                        d)     The Complaint alleges that Defendant, Andrew Peterson, is and a

                resident and citizen of Delaware, with an address at 301 Jessica Drive, Lea Era

                Farms, Middleton, Delaware 19709.

         13.    The reasonable value of the amount in controversy exceeds $75,000, exclusive of

interest and costs in that:

                        a)    Based upon the fair reading of the Complaint, Plaintiffs have

                attempted to set forth a claim in which an amount in excess of the jurisdictional

                limit of $75,000, exclusive of interest and costs, may be at stake.

                        b) In the Complaint, Plaintiff demand damages “in an amount in excess

                $50,000 (Fifty Thousand Dollars).” Therefore, Plaintiffs’ demand exceeds

                $50,000.

                        d) The court must make an independent appraisal of the claim and "after a

                generous reading of the complaint, arrive at the reasonable value of the rights

                being litigated" because the complaint does not contain a demand for an exact

                monetary amount. Casandra Johnson v. COSTCO Wholesale, Civil Action No.

                99-CV-3576, United States District Court, E.D. Pennsylvania (September 22,

                1999) (citing, Feldman v. New York Life Insurance, No. CIV. A. 97-4684, 1998

                WL 94800, at 4 (E.D.Pa. Mar. 4, 1998); also see, Angus v. Shiley, Inc., 989 F.2d

                142 at 146 (3rd Cir. 1993).




                                                  3
10960448-1
             Case 2:17-cv-04657-BMS Document 1 Filed 10/18/17 Page 4 of 5



                          e) The Court’s appraisal of the claim must include “the reasonable value

                of potential compensatory as well as punitive damages.” Id., (citing, Angus, 989

                F.2d at 145-46.

                          f)    The court also may look to the Notice of Removal to assess the

                reasonable value of the amount in controversy. Id., (citing, Mangano v. Helina,

                No. CIV. A. 97-1678, 1997 WL 697952, at 5 (E.D.Pa. Nov. 3, 1997).

                          g)      The Complaint alleges that Plaintiff, David Scott, sustained the

                following injuries and damages as a result of the motor vehicle accident at issue

                herein:

                          18.     (a)    Cericalgia;

                                  (b)    Cervical spondylosis;

                                  (c)    C2-C3 bilateral facet arthrosis;

                                  (d)    C3-C4 disc bulge

                                  (e)    C4-C5 broad-based left posterolateral protrusion;

                                  (f)    C5-C6 circumferential disc bulge;

                                  (g)    C6-7 circumferential disc bulge;

                                  (h)    C7-T1 left facet arthrosis;

                                  (i)    Cervical strain/strain; (sic)

                                  (j)    Right shoulder strain/sprain; and

                                  (k)    Headaches.

                          19.    As a result of the foregoing injuries and natural
                          consequences thereof, David J. Scott, has sustained physical and
                          mental pain and suffering requiring ongoing medical treatment.

                          21.    David J. Scott continues to require treatment for the
                          aforesaid injuries and natural consequences thereof.


                                                    4
10960448-1
             Case 2:17-cv-04657-BMS Document 1 Filed 10/18/17 Page 5 of 5




                       23.     As a result of the aforesaid injuries and natural
                       consequences thereof, David J. Scott’s (sic) has sustained a loss of
                       the everyday pleasures and enjoyments of life and may continue to
                       suffer the same indefinitely.

                       24.     As a result of the aforesaid injuries and natural
                       consequences thereof, David J. Scott has suffered embarrassment
                       and humiliation and many (sic) continue to suffer the same
                       indefinitely.

                       25.    As a result of the aforesaid injuries and natural
                       consequences thereof, David J. Scott has been obligated to expend
                       various sums of money and incur various expenses for medical
                       treatment and may be obligated to do the same indefinitely.

                       26.     As a result of the aforesaid injuries and natural
                       consequences thereof, David J. Scott has sustained an impairment
                       of his earning capacity/potential.

See, Ex. A at ¶¶ 18-26.

         14.    Based on the diversity of the parties and the reasonable value of the amount in

controversy, this action satisfies the requirements for removal set forth in 28 U.S.C. §1332.

         15.    The undersigned has been retained as counsel for Defendant, Sysco Leasing, LLC

and they consent to removal.

         WHEREFORE, Defendants pray that the above action now pending against it in Court of

Common Pleas of Philadelphia County, be removed therefrom to this Honorable Court.

                                      RAWLE & HENDERSON LLP


                                      By: ______________________
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                                             Edward I. Wicks, Esquire
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Dated: October 18, 2017                      (215) 575-4200


                                                 5
10960448-1
